       Case 3:11-cr-00192-JCH       Document 591        Filed 07/18/14    Page 1 of 13




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                  :
          Plaintiff,                       :              CRIMINAL CASE NO.
                                           :              3:11-cr-192 (JCH)
        v.                                 :
                                           :
JACQUES KELLY,                             :              JULY 18, 2014
         Defendant.                        :

      RULING RE: DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL AND
                    MOTION FOR NEW TRIAL (Doc. No. 553)

I.      INTRODUCTION

        On April 18, 2014, defendant Jacques Kelly was convicted of one count of

conspiracy to commit wire, mail, and/or bank fraud, one count of wire fraud, and one

count of making a false statement to a financial institution. Kelly now moves for a

judgment of acquittal pursuant to Rule 29 of the Federal Rules of Criminal Procedure.

In the alternative, Kelly moves for a new trial pursuant to Rule 33. Defendant’s Motion

for Judgment of Acquittal and for Motion for New Trial (“Def.’s Mot.”) (Doc. No. 553).

        For the reasons set forth below, Kelly’s Motions for Judgment of Acquittal and for

New Trial (Doc. No. 553) are DENIED.

II.     BACKGROUND

        On February 14, the grand jury returned a five-count Second Superseding

Indictment against Kelly, Andrew Constantinou, Genevieve Salvatore, Lawrence

Dressler, and Kwame Nkrumah.1 Second Superseding Indictment (Doc. No. 150). The

Second Superseding Indictment charged Kelly with conspiracy, in violation of section


        1
         The grand jury had previously returned two indictments against Kelly: the first
Indictment, issued on October 5, 2011, charged Kelly with conspiracy and wire fraud; the
Superseding Indictment, issued on February 24, 2012, additionally charged Kelly with mail
fraud. Indictment (Doc. No. 1) ¶¶ 1-16, 20; Superseding Indictment (Doc. No. 44) ¶ 19.

                                               1
      Case 3:11-cr-00192-JCH        Document 591       Filed 07/18/14     Page 2 of 13




1349 of title 18 of the United States Code (Count One), wire fraud, in violation of section

1343 of title 18 of the United States Code (Count Four), and making a false statement to

a financial institution, in violation of section 1014 of title 18 of the United States Code

(Count Five). Id. ¶¶ 12-30, 34, 36.

       The Second Superseding Indictment alleged that Kelly, along with a number of

known and unknown co-conspirators, conspired to unlawfully enrich himself by

obtaining millions of dollars in real estate mortgages through the use of, among other

things, materially false loan applications, loan documents, and HUD-1 forms, and to

conceal the scheme from others. Second Superseding Indictment ¶ 13. Kelly’s alleged

role in the conspiracy was to fraudulently purchase multi-family properties in New

Haven, Connecticut by applying for mortgages from mortgage lenders and federally-

insured financial institutions to finance the purchase. Id. ¶¶ 14, 17. In applying for

these mortgages, the Second Superseding Indictment alleged, Kelly was to make, or

cause to be made, materially false statements to obtain financing. Id. ¶ 20. As further

part of the conspiracy, Kelly allegedly entered into sales contracts with sellers of real

property for prices higher than the actual prices that the sellers agreed to receive, and

did receive, at closing, and then rented out units in the fraudulently obtained properties

to obtain income. Id. ¶¶ 18, 23. For the purpose of executing the conspiracy, Kelly was

alleged to have knowingly transmitted a wire transfer in the amount of $236,115.00 from

Sovereign Bank in New Jersey to co-conspirator Brad Reiger’s attorney trust account at

Liberty Bank in Connecticut, in connection with Kelly’s purchase of 47 Lloyd Street in

New Haven, and to have submitted or caused to be submitted a HUD-1 form, in

connection with his purchase of 115 Lloyd Street in New Haven, showing his payment



                                              2
        Case 3:11-cr-00192-JCH      Document 591      Filed 07/18/14    Page 3 of 13




of the amount of $35, 264.90, in purchasing the property when, in fact, Kelly paid no

such funds. Id. ¶¶ 34, 36.

        At trial, the government presented the following evidence against Kelly: (1) false

HUD-1s for 569 Elm Street, 436 Poplar Street, 115 Lloyd Street, 9 Grace Street, and

147 Lloyd Street bearing Kelly’s signature and showing that he agreed to bring

thousands of dollars to closings when he did not, in fact, do so; (2) fake leases bearing

Kelly’s signature for Kelly’s purchase of 147 Lloyd Street and attempted purchase of

129 Winthorp; (3) contract addenda not disclosed to the lender showing purchase prices

significantly less than the original contract prices and the prices on the HUD-1s; (4)

bank statements showing Kelly’s borrowing of $30,000 from co-conspirators Ronald

Hutchinson and Nkrumah and moving the money between bank accounts to create a

false bank verification sent to lender Sterling Empire to support his application for a

mortgage to purchase 147 Lloyd Street; (5) six checks totaling over $56,000, which

Kelly received at closings; (6) a false HUD-1 for Kelly’s sale of 141 Saltonstall Avenue

showing that he received $30,000 from Hutchinson at the closing when he, in fact, did

not; (7) FedEx receipts and wire transfers; (8) testimony from cooperating witness

Joseph Levitin as to Kelly’s role and participation in the conspiracy; and (9) Kelly’s own

statements, admitted through the testimony of FBI Investigator David Rhieu, regarding

his knowledge that fake leases were created and submitted to lenders in support of his

mortgage applications and his admission that he bought houses with no money down

and got cash back at closings, when the HUD-1s submitted to the lenders did not reflect

this.




                                             3
       Case 3:11-cr-00192-JCH         Document 591     Filed 07/18/14    Page 4 of 13




       On April 10, 2014, at the close of the government’s case, Kelly moved for a

judgment of acquittal pursuant to Rule 29(a). Oral Motion for Judgment of Acquittal

(Doc. No. 493). The court denied the Motion. Minute Entry (Doc. No. 496). On April

18, 2014, the jury returned a verdict of guilty on all counts against Kelly. Jury Verdict

(Doc. No. 511). Following the jury’s verdict, Kelly filed the instant post-trial Motions.

III.   DISCUSSION

       As a threshold matter, the government contends that Kelly’s Motions should be

denied because they were not timely filed. Government’s Opposition to Defendant

Kelly’s Motion for Judgment of Acquittal and/or for New Trial (Doc. No. 575) at 2-3.

Federal Rule of Criminal Procedure 29(c)(1) permits a defendant to move for a

judgment of acquittal, or renew such a motion, “within 14 days after a guilty verdict or

after the court discharges the jury, whichever is later.” Fed. R. Crim. P. 29(c)(1).

Federal Rule of Criminal Procedure 33(b)(2) provides that a motion for new trial on any

basis other than newly discovered evidence “must be filed within 14 days after the

verdict or finding of guilty.” Id. 33(b)(2).

       Kelly’s Motions would appear to be time-barred, as they were filed nearly four

weeks after the 14-day post-verdict deadline for Rule 29 and Rule 33 motions.

However, the court notes that, just after the verdict, there was some ambiguity as to

when precisely such motions were to be filed. Upon counsel’s anticipation that

preparation of post-trial motions might take counsel some time because of a need to

acquire documents, the court instructed the parties to discuss a date for filing such

motions, and to file an extension accordingly. Transcript (Doc. No. 566) at 2198:19-25;

2199:1. While a motion for extension was not filed by undersigned counsel, it was filed



                                               4
      Case 3:11-cr-00192-JCH        Document 591        Filed 07/18/14     Page 5 of 13




by counsel for Kelly’s co-defendant at trial Andrew Constantinou. See Constantinou

Motion for Extension of Time to File Post-Trial Motions (Doc. No. 534).

       In light of the apparent lack of clarity regarding when post-trial motions were to

be made, as well as the lack of prejudice that the untimeliness of Kelly’s Motions

presents to the government, given that Constantinou’s Rule 29 and Rule 33 motions

were also filed after the 14-day post-verdict window, the court finds that the delay in

filing of Kelly’s Motions was the result of excusable neglect and, thus, considers them

despite their untimeliness. See Advisory Committee Notes, Fed. R. Crim. P. 29

(“[U]nder Rule 45(b)(1)(B), if for some reason the defendant fails to file the underlying

motion within the specified time, the court may nonetheless consider that untimely

motion if the court determines that the failure to file it on time was the result of

excusable neglect.”); Advisory Committee Notes, Fed. R. Crim. P. 33 (same); Williams

v. KFC Nat. Management Co., 391 F.3d 411, 415 (2d Cir. 2004) (considering “all

relevant circumstances,” including the danger of prejudice to the non-moving party, the

length of the delay and its impact on judicial proceedings, the reason for the delay, and

whether the moving party acted in good faith in determining whether delay was due to

excusable neglect).

       A. Motion for Judgment of Acquittal

           i.     Standard of Review

       Rule 29 requires the court, upon motion by the defendant, to “enter a judgment of

acquittal of any offense for which the evidence is insufficient to sustain a conviction.”

Fed. R. Crim. P. 29(a). However, in challenging the sufficiency of the evidence

supporting his conviction, “the defendant faces an uphill battle, and bears a very heavy

burden.” United States v. Mi Sun Cho, 713 F.3d 716, 720 (2d Cir. 2013) (citation and

                                               5
      Case 3:11-cr-00192-JCH           Document 591       Filed 07/18/14    Page 6 of 13




internal quotation marks omitted). In deciding such a motion, the court must view the

evidence in the light most favorable to the government, draw all inferences in favor of

the government, and defer to the jury’s assessment of the witnesses’ credibility. United

States v. Hawkins, 547 F.3d 66, 70 (2d Cir. 2008). The jury verdict should stand so

long as “any rational trier of fact could have found the essential elements of the crime

beyond a reasonable doubt.” Mi Sun Cho, 713 F.3d at 720 (quoting Jackson v. Virginia,

443 U.S. 307, 319 (1979)). In deciding a Rule 29 motion, “the evidence must be viewed

in its totality, as each fact may gain color from others,” and the court must exercise care

not to substitute its determination of the weight of the evidence, and of the reasonable

inferences to be drawn therefrom, for that of the jury. United States v. Cassese, 428

F.3d 92, 98-99 (2d Cir. 2005).

            ii.      Conspiracy

       To convict Kelly of the crime of conspiracy charged in Count One, the jury had to

find that the government had proven beyond a reasonable doubt the following two

elements:

                  (1) That two or more persons entered into the unlawful agreement
                      charged in the Indictment;

                  (2) That [Kelly] knowingly and willfully became a member of the
                      conspiracy, with a specific intent to commit wire fraud, mail fraud,
                      and/or bank fraud.

Jury Charge (Doc. No. 589) at 43; see 18 U.S.C. § 1349; see also United States v.

Albers, No. 08-CR-819, 2011 WL 1225548, at *1 (E.D.N.Y. Mar. 31, 2011). “To sustain

a conspiracy conviction, the government must present some evidence from which it can

reasonably be inferred that the person charged with conspiracy knew of the existence of

the scheme alleged in the indictment and knowing joined and participated in it.” U.S. v.


                                                 6
      Case 3:11-cr-00192-JCH       Document 591       Filed 07/18/14    Page 7 of 13




Lorenzo, 534 F.3d 153, 159 (2d Cir. 2008) (internal quotation marks omitted). “[O]nce a

conspiracy is shown to exist, the evidence sufficient to link another defendant to it need

not be overwhelming. . . . But suspicious circumstances . . . are not enough to sustain a

conviction for conspiracy . . . and mere association with those implicated in an unlawful

undertaking is not enough to prove knowing involvement.” Id. (internal quotation marks

and citations omitted). A defendant’s “mere presence at the scene of a criminal act or

association with conspirators does not constitute intentional participation in the

conspiracy even if the defendant has knowledge of the conspiracy.” Id. at 159-60

(internal quotation marks omitted).

       Kelly contests the verdict on the grounds that the government proffered no

evidence of his knowing involvement in the conspiracy or that he had the specific intent

to commit wire fraud or bank fraud. Def.’s Mot. at 8, 9. The court, however, finds no

merit in this argument.

       The trial evidence sufficiently supported a finding that Kelly’s involvement in the

conspiracy was knowing and that he had a specific intent to commit wire fraud and bank

fraud. The jury could have found that Kelly was not merely present at the scene of the

fraudulent closings at the center of the charged conspiracy, but rather was actively

involved in the scheme, based on the testimony of FBI Investigator Rhieu that Kelly

knew that some of the apartments being purchased were vacant, that fake leases were

created and submitted to lenders in support of his mortgage applications, and that he

had purchased houses with no money down but received cash back at closings. The

jury could also have inferred that Kelly knowingly engaged in the conspiracy, with the

intent to accomplish mail, bank, or wire fraud, from the documentary evidence produced



                                             7
      Case 3:11-cr-00192-JCH        Document 591        Filed 07/18/14     Page 8 of 13




by the government, namely: the fake leases and false HUD-1s bearing Kelly’s signature,

Gov’t’s Exs. 3008, 2501, 2600, 2700, 2800, 2900, 3000; contract addenda not disclosed

to the lender showing purchase prices significantly less than those reported on the

HUD-1s, Gov’t’s Exs. 2503, 2704; checks which Kelly received at closings, Gov’t’s Exs.

1910, 3032; a false HUD-1 for Kelly’s sale of 151 Saltonstall Avenue showing that he

received $30,000 from Hutchinson when he did not, Gov’t’s Ex. 1000; and Kelly’s

shifting of $30,000 received from Hutchinson and Nkrumah between bank accounts to

create a false bank verification sent to a lender showing an inflated balance in his

account used to support his mortgage to purchase 147 Lloyd Street, Gov’t’s Exs. 3006,

4176, 4192A at 44.

       The jury further could have relied upon Levitin’s testimony that Kelly knew about

the vacant apartments because he walked through some of the properties before he

bought them, that he created fake leases while Kelly was present, and that Kelly knew

that he could buy properties with no down payments and would receive cash back at

closings. Kelly takes issue with Levitin’s testimony, as well as that of cooperating

witness Jeffrey Weisman, instisting that their testimony “was so self-serving,

inconsistent and saddled with such duplicity that, notwithstanding the dictate that the

jury is to determine issues of credibility,” the court should find it not credible. Def.’s Mot.

at 8. The court, however, does not find that it has any cause to do so. All questions of

credibility on a Rule 29 motion are to be resolved in favor the government. U.S. v.

Autuori, 212 F.3d 105, 114 (2d Cir. 2000). Kelly’s unsubstantiated claim that the

testimony of Levitin and Weisman was incredible does not provide the court with a basis

to invade “the province of the jury . . . [in] determin[ing] whether a witness who may



                                               8
      Case 3:11-cr-00192-JCH         Document 591      Filed 07/18/14     Page 9 of 13




have been inaccurate, contradictory and even untruthful in some respects was

nonetheless entirely credible in the essentials of his testimony.” U.S. v. O’Connor, 650

F.3d 839, 855 (2d Cir. 2011).

       Thus, the trial evidence was more than sufficient to support a finding that Kelly

knowingly conspired to commit mail fraud, wire fraud, and/or bank fraud.

            iii.   Wire Fraud

       To convict Kelly of the crime of wire fraud charged in Count Four, the jury had to

find that the government had proven beyond a reasonable doubt the following three

elements:

            (1) That there was a scheme or artifice to defraud or to obtain money or
                property by materially false or fraudulent pretenses, representations, or
                promises, as alleged in the Indictment;

            (2) That Mr. Kelly knowingly and willfully participated in the scheme or artifice
                to defraud, with knowledge of its fraudulent nature and with specific intent
                to defraud; and

            (3) That in execution of that scheme, Mr. Kelly used or caused the use of the
                interstate wires as specified in the Indictment.

Jury Charge at 56; see 18 U.S.C. § 1343; 2 Sand et al., supra, Instruction 44-3. For a

charge of wire fraud, “the proof must demonstrate that the defendant had a conscious

knowing intent to defraud . . . [and] that the defendant contemplated or intended some

harm to the property rights of the victim.” Autuori, 212 F.3d at 116 (internal quotation

marks omitted). The government may prove fraudulent intent through circumstantial

evidence. Id.

       The jury similarly could have found, from the evidence submitted by the

government, that Kelly knowingly intended to commit wire fraud in connection with his

purchase of 147 Lloyd Street. Though Kelly contends that no evidence was presented


                                               9
     Case 3:11-cr-00192-JCH        Document 591       Filed 07/18/14     Page 10 of 13




to the jury that demonstrated that he had the specific intent to commit wire fraud or

deprive the victim banks and lending institutions of money or property, Def.’s Mot. at 8-

9, the record belies this claim. A jury could have inferred Kelly’s fraudulent intent from

the government’s presentation of Rhieu’s testimony, Kelly’s creation of a false bank

verification to support his application for a mortgage to purchase 147 Lloyd Street,

Gov’t’s Exs. 3006, 4176, 4192A at 44, fake leases sent to the lender in support of

Kelly’s mortgage application, Gov’t’s Ex. 3008, Kelly’s bank statement showing that he

did not have sufficient funds to pay the $32,000 down payment reported on a false

HUD-1, Gov’t’s Exs. 4176, 3000, and Kelly’s deposit of a check from a realty company

owned by Nkrumah that was not disclosed to the lender, Gov’t’s Ex. 3032. The jury

could also have credited testimony from Judith Crudo, a representative from People’s

Bank, that the $32,000 down payment was actually paid by the seller and Nkrumah’s

girlfriend, Shannon Smith, and not, as reported on the HUD-1, Kelly. Based on this

evidence, as well as the stipulation that the wire transfer of funds used to fund this

purchase was an interstate communication, see Jury Charge at 64, the jury had more

than sufficient basis to return a verdict of guilty against Kelly on the wire fraud count.

          iv.     False Statement to Financial Institution

       To convict Kelly of the crime of false statement to a financial institution charged

in Count Five, the jury had to find that the government had proven beyond a reasonable

doubt the following four elements:

          (1) That Mr. Kelly made, or caused to be made, a false statement or report
              relating to an application to a bank;

          (2) That Mr. Kelly knew the statement to be false;




                                             10
     Case 3:11-cr-00192-JCH        Document 591       Filed 07/18/14    Page 11 of 13




          (3) That Mr. Kelly made, or caused to be made, the false statement or report
              for the purpose of influencing in any way the bank’s action; and

          (4) That the bank was, at the time of the offense, insured by the Federal
              Deposit Insurance Corporation (“FDIC”).

Jury Charge at 67; see 18 U.S.C. § 1014; 2 Sand et al., supra, Instruction 37-17.

       The trial evidence sufficiently supports the jury’s finding that Kelly made a false

statement to a financial institution in connection with his purchase of 115 Lloyd Street.

Kelly insists that there is “not a scintilla of direct evidence supporting the government’s

claim” that Kelly knew the statement at issue to be false at the time it was made. Def.’s

Mot. at 10. The government, however, produced Rhieu’s testimony that Kelly admitted

to purchasing 115 Lloyd Street from Nkrumah with no money down and got cash back

at closing; a false HUD-1 signed by Kelly and sent to First Central Savings Back

reporting that Kelly was to bring more than $35,000 to the closing and that Smith was to

receive over $90,000 at this closing, Gov’t’s Ex. 2800; Kelly’s bank statements on the

day of the closing showing that he only had just over $6,000 in his account, Gov’t’s Ex.

4176; a HUD-1 in the closing file of co-conspirator Dresser showing that a $35,000

closing credit was hidden from the bank, Gov’t’s Ex. 2807; Dressler’s check to Smith for

just over $57,000, Gov’t’s Ex. 2816; and a bank deposit slip showing that Kelly

deposited a $15,000 check from Nkrumah’s realty company shortly after the closing, a

payment that was not disclosed on the HUD-1 form signed by Kelly, Gov’t’s Ex. 2818. A

rational jury could find, based on this evidence and its acceptance of the stipulation that

First Central Savings Bank is a federally-insured bank, see Jury Charge at 73, that Kelly

made a false statement to a financial institution.

       B. Motion for New Trial



                                             11
      Case 3:11-cr-00192-JCH       Document 591       Filed 07/18/14    Page 12 of 13




       Pursuant to Rule 33 of the Federal Rules of Criminal Procedure, Kelly moves the

court, in the alternative, for a new trial. Under Rule 33, a “court may vacate any

judgment and grant a new trial if the interest of justice so requires.” Fed. R. Crim. Pro.

33(a). A district court “has broader discretion to grant a new trial under Rule 33 than to

grant a motion for acquittal under Rule 29, but it nonetheless must exercise the Rule 33

authority ‘sparingly’ and in ‘the most extraordinary circumstances.’” United States v.

Ferguson, 246 F.3d 129, 134 (2d Cir.2001) (quoting United States v. Sanchez, 969 F.2d

1409, 1414 (2d Cir.1992)). “The ultimate test on a Rule 33 motion is whether letting a

guilty verdict stand would be a manifest injustice.” Id. In exercising its discretion, the

court may weigh the evidence and credibility of witnesses. Autuori, 212 F.3d at 120.

However, the court may not “wholly usurp” the jury’s role, id., and should defer to the

jury’s assessment of witnesses and resolution of conflicting evidence unless

“exceptional circumstances can be demonstrated.” Ferguson, 246 F.3d at 134.

       Kelly identifies no extraordinary circumstances which would warrant a new trial

here. Having examined the record, the court concludes that no such circumstances are

present, that the jury’s verdict is adequately supported by the record, and that the

interests of justice do not require a new trial. Accordingly, the court denies Kelly’s Rule

33 Motion.

IV.    CONCLUSION

       For the reasons set forth above, the court DENIES Kelly’s Motion for a Judgment

of Acquittal and Motion for a New Trial (Doc. No. 553).




                                             12
   Case 3:11-cr-00192-JCH     Document 591     Filed 07/18/14      Page 13 of 13




SO ORDERED.

    Dated at New Haven, Connecticut this 18th day of July, 2014.


                                                        /s/ Janet C. Hall
                                                  Janet C. Hall
                                                  United States District Judge




                                       13
